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1521 AAAAAAAAAAAAAAAAA
   Signed: January 16, 2015

                                                       ____________________________________
                                                       DAVIDAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA
                                                              R. JONES
                                                            &&STATES
                                                       UNITED    !58B-+9   C162
                                                                         BANKRUPTCY        JUDGE
                     Case 13-50223 Document 60 Filed in TXSB on 01/18/15 Page 3 of 3
                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 13-50223-drj
Maria Cruz Benavides                                                                                       Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0541-5                  User: sgue                         Page 1 of 1                          Date Rcvd: Jan 16, 2015
                                      Form ID: pdf002                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 18, 2015.
db             +Maria Cruz Benavides,   211 Tulip Circle,   Laredo, TX 78046-5114
cr             +Santander Consumer USA, Inc.,   The Sundmaker Firm, LLC,   336 Lafayette St., Ste. 301,
                 New Orleans, LA 70130-3265

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: bnc-quantum@quantum3group.com Jan 16 2015 20:59:56
                 Quantum3 Group LLC as agent for,   CF Medical LLC,   PO Box 788,   Kirkland, WA 98083-0788
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                 Bank of America, N.A.
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 18, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 16, 2015 at the address(es) listed below:
              Earl Ferdinand Sundmaker   on behalf of Creditor   Santander Consumer USA, Inc.
               trey@sundmakerfirm.com
              Fernando D Gutierrez, Jr   on behalf of Debtor Maria Cruz Benavides fdgtzlegal@stx.rr.com,
               fernandodgutierr@stx.rr.com
              Steve Turner    on behalf of Creditor   Bank of America, N.A. sdecf@BDFGROUP.com,
               marshak@BDFGroup.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
              William E. Heitkamp   heitkamp@ch13hou.com
                                                                                            TOTAL: 5
